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DATE FILED:__ 8/19/2024

August 16, 2024
Via ECF

The Honorable Margaret M. Garnett
United States District Court
Southern District of New York

40 Foley Square, Room 2102

New York, NY 10007

Re: UMG Recordings, Inc. v. Verizon Communications Inc. No. 24-cv-05285
Dear Judge Garnett:

We represent Verizon! in this action. Under Rule I(B)(5) of the Court’s Individual Rules,

we write, on behalf of all parties, to jointly request an adjournment of the Initial Pretrial
Conference currently scheduled for September 4, 2024, at 9:30 a.m. Dkt. No. 15. No
adjournment of this Conference has previously been sought or given.

On July 29, 2024, the Court granted Verizon’s motion to extend the date by which it must
respond to Plaintiff's complaint, setting the following motion-to-dismiss briefing schedule:

e Motion to dismiss: September 5, 2024
e Opposition: October 17, 2024
e Reply: November 7, 2024

Dkt. No. 30. Given the briefing schedule, the parties do not believe it would be efficient to
conduct the Initial Pretrial Conference, which is currently scheduled to occur the day before
Verizon’s motion to dismiss is due. The parties thus respectfully request that the Court adjourn
the Initial Pretrial Conference until November 21, 2024, two weeks after Verizon has filed its
reply brief, or until another date convenient for the Court.

1 “Verizon” refers collectively to all three Defendants in this action: Verizon
Communications Inc., Verizon Services Corp., and Cellco Partnership.
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Respectfully submitted,

/s/ Joshua D. Branson
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Counsel for Verizon

cc: Counsel of Record (via ECF)

Request GRANTED. In light of the anticipated motion to dismiss, the
conference that was scheduled for September 4, 2024, is ADJOURNED sine
die. The Clerk of Court is directed to terminate Dkt. No. 35.

SO ORDERED. 8/19/2024
D

HON. GARNETT

